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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF GEORGIA
                          MACON DIVISION

AMY SOLEN,                        )
                                  ) Civil Action No.
Plaintiff,                        )
                                  )
v.                                )
                                  ) JURY TRIAL DEMANDED
HOPEBRIDGE, LLC                   )
                                  )
Defendant,                        )
_________________________________ )


                       COMPLAINT FOR DAMAGES

      COMES NOW, Plaintiff Amy Solen (“Plaintiff”), by and through undersigned

counsel, and files this, her Complaint against Defendant Hopebridge, LLC’s

(“Defendant”), and shows the Court as follows:

                         NATURE OF COMPLAINT

                                        1.

      Plaintiff brings this action for damages and reasonable attorney fees for

Defendant’s violations of her rights under the Americans with Disabilities Act of

1990, as amended, 42 U.S.C. § 12111 et seq. (“ADA”).




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                            JURISDICTION AND VENUE

                                              2.

         Plaintiff invokes the jurisdiction of this court pursuant to 28 U.S.C. § 1331

and 42 U.S.C. § 12117 and 12203.

                                              3.

         The unlawful employment practices alleged in this Complaint were

committed within this district. In accordance with 28 U.S.C. § 1391 and 42 U.S.C.

§2000(e)-5(f), as incorporated in 42 U.S.C. § 12117(a), venue is appropriate in this

Court.

                                        PARTIES

                                              4.

         Plaintiff is a resident of the State of Georgia and a citizen of the United States

of America and is entitled to bring actions of this kind and nature.

                                              5.

         Defendant Hopebridge, LLC is a foreign limited liability corporation licensed

to do business in Georgia which may be served pursuant to Rule 4 of the Federal

Rules of Civil Procedure through its registered agent for service of process, URS

Agents, LLC (CA), 3675 Crestwood Parkway, Suite 350, Duluth, GA, 30096.




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                     ADMINISTRATIVE PROCEDURES

                                         6.

      Plaintiff timely filed a charge of discrimination against Defendant with the

Equal Employment Opportunity Commission (“EEOC”) on March 26, 2020.

Defendant had notice of the Charge and an opportunity to participate in the

investigation and conciliation of the Charge and did in fact participate in the

investigation of the Charge.

                                         7.

      The EEOC issued a “Notice of Right to Sue” on April 22, 2021, entitling an

action to be commenced within ninety (90) days of receipt of that notice.

                                         8.

      This action has been commenced within ninety (90) days of receipt of the

“Notice of Right to Sue”.

                            FACTUAL ALLEGATIONS

                                         9.

      Defendant is now and at all times during the period of Plaintiff’s employment

and thereafter has been an employer engaged in an industry affecting commerce

within the meaning of 42 U.S.C. § 1211(5)(a) and 15 or more employees for each

working day in each of 20 or more calendar weeks in the 2019 or 2018 calendar year.


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                                            10.

      Defendant has employed more than 500 employees in each of 20 or more

calendar weeks in the 2018 or 2019 calendar years.

                                            11.

      Defendant’s annual revenues exceed $40,000,000.

                                            12.

      Defendant was thus able to grant the accommodation requested by Plaintiff.

                                            13.

      Plaintiff was hired by Defendant on September 9, 2019 as a Board Certified

Behavior Analyst.

                                            14.

      After she was hired, Plaintiff disclosed to Trent Goode, the Center Manager,

as well as Registered Behavior Technicians then working at the Center, that she

suffers from primary immunodeficiency, which requires Plaintiff to have regular

infusions of Hizentra, that requires her to have regular appointments with an

immunologist for treatments that present cost over $18,000 per month.

                                            15.

      Plaintiff discussed the precautions she needed to exercise in order to manage

the risks associated with her disability.


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                                          16.

      As part of her discussions about these precautions, she had numerous

conversations with Mr. Goode regarding her concerns about children being in the

clinic with fevers or other symptoms indicating that they suffered from contagious

disease.

                                          17.

      Mr. Goode represented to Plaintiff that it had a policy of not permitting

children with contagious diseases to be present at the Center, which policy was

contained in patient packets and on a flyer hung in the lobby.

                                          18.

      However, it readily became apparent that this policy was not followed, as

numerous children were ill, with fevers, and very few children were sent home.

                                          19.

      Some children were so ill that they merely slept through the day while they

were supposed to be receiving services.

                                          20.

      Plaintiff disclosed this on-going violation of policy to the then Regional

Center Manager, Stacy Scarrette.




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                                            21.

      During this same period, Mr. Goode reinstated from suspension a Registered

Behavior Technician who had been sent home for striking one of the three-year-old

patients at the Center.

                                            22.

      On November 11, 2019, due to the failure to enforce the policy against

permitting contagious children to remain at the Clinic, the fraudulent practice alleged

above and because Mr. Goode had reinstated the Registered Behavior Technician

who had struck a three-year-old patient at the Center, Plaintiff told Mr. Goode and

other members of the staff that, unless things changed, her last day would be

November 22, 2019.

                                            23.

      On November 11, 2019, Plaintiff also reported Mr. Goode to Defendant’s

corporate compliance officer for requiring Karina Massey to prepare fraudulent

billing notes and instructing Plaintiff to sign off on fraudulent billing notes, so that

they could be used for billing purposes.




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                                          24.

      On the evening of November 11, 2019, the Regional Center Manager, Stacy

Scarrette and informed her of the preceding facts. Ms. Scarrette reassured that the

issues she had reported would be taken seriously and changes would be made.

                                          25.

      Ms. Scarrette asked Plaintiff to rescind her verbal resignation and Plaintiff

agreed.

                                          26.

      Subsequently, despite Plaintiff’s stated concerns and notwithstanding the

stated “no contagious children” policy, on November 18, 2019, Plaintiff was

informed by an RBT named Kelsey that a child was dropped off at the Center by his

mother with an oozing, pustulant sore on the back of his leg and had a prescription

antibiotic cream which she recognized as one used to treat staph infections.

                                          27.

      Plaintiff attempted to reach the child’s mother several times, without success.

                                          28.

      Plaintiff then contacted the pharmacist who filled the prescription and the

pharmacist stated that it was prescribed for bacterial infections such as staph. The




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pharmacist confirmed that the infection was contagious, given the nature of the

medication.

                                            29.

      Kelsey contacted Plaintiff and informed her that Mr. Goode had informed her

merely to use good handwashing protocols while changing the child’s diaper. She

also reported that the child had stuck his hands in the infected sore and wiped the

pus on Kelsey’s face and ear.

                                            30.

      The child’s mother then contacted Plaintiff via telephone. Plaintiff asked

about the child’s condition, which the mother described as a “boil.” The mother did

not know what kind of infection the child had and, on further questioning, admitted

that she did not have a note from the doctor stating that the child could safely be in

the Clinic without risk of infection staff and other patients.

                                            31.

      Plaintiff then checked online and found a scholarly article written by

infectious disease professionals that stated that “A boil, also known as a furuncle, is

a bacterial infection involving the perifolligular tissue that usually originates from

pre-existing folliculitis.” It also stated that “Staphylococcus aureus is the most

common pathogen of folliculitis and boils.” See Lin, H. S., Lin, P. T., Tsai, Y. S.,


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Wang, S. H., & Chi, C. C. (2018). Interventions for bacterial folliculitis and boils

(furuncles and carbuncles). The Cochrane Database of Systematic Reviews, 2018(8),

CD013099. https://doi.org/10.1002/14651858.CD013099.

                                            32.

      Plaintiff informed Mr. Goode and Oascha, the Regional BCBA, that, because

of her disability, if she were to become infected, it could be fatal. She requested that

another BCBA provide oversight, unless the child were sent home as required by

policy.

                                            33.

      Plaintiff was then fired and escorted from the building.

                              CLAIMS FOR RELIEF

  COUNT I: DISABILITY DISCRIMINATION IN VIOLATION OF ADA

                                            34.

      Plaintiff re-alleges paragraphs 9-33 as if set forth fully herein.

                                            35.

      Plaintiff has a physical impaiment and a record of such an impairment which

substantially limits one or more major life activities, i.e., a major bodily function,

including but not limited to, functions of the immune system.




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                                           36.

      Plaintiff’s impairment is a disability within the meaning of the ADA, as

amended.

                                           37.

      Defendant was aware of Plaintiff’s disability.

                                           38.

      Defendant regarded Plaintiff as having a disability such that she is a person

with a disability and/or perceived disability within the meaning of the ADA, as

amended.

                                           39.

      Plaintiff has a record of having a disability and/or perceived disability such

that she is a person with a disability within the meaning of the ADA, as amended.

                                           40.

      At all times relevant to this action, Plaintiff was a qualified individual with a

known or perceived disability as defined in the ADA.

                                           41.

      Defendant terminated Plaintiff’s employment because of her disability,

perceived disability, or record of having a disability.




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                                            42.

      Defendant terminated Plaintiff’s employment because of her disability and her

requests for accommodations.

                                            43.

      By terminating Plaintiff’s employment because of her disability, perceived

disability, or record of having a disability, Defendant violated the ADA, as amended.

                                            44.

      Although Defendant claims that Plaintiff resigned, this statement is false and

a pretext for disability discrimination.

                                            45.

      Defendant treated other employees outside Plaintiff’s protected class

differently.

                                            46.

      Defendant’s actions in subjecting Plaintiff to different terms and conditions

of employment constitutes unlawful discrimination under the Americans with

Disabilities Act of 1990, as amended, 42 U.S.C. § 12111 et seq., 42 U.S.C. 2000e et

seq. and 42 U.S.C. section 1981A.




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                                          47.

      Defendant, including upper management officials of Defendant, has willfully

and wantonly disregarded Plaintiff’s rights, and Defendant’s discrimination against

Plaintiff was undertaken in bad faith.

                                          48.

      The effect of the conduct complained of herein has been to deprive Plaintiff

of equal employment opportunity and has otherwise adversely affected her status as

an employee because of her disability.

                                          49.

      As a direct and proximate result Defendant’s violation of the ADA, Plaintiff

has been made the victim of acts that have adversely affected her psychological and

physical well-being.

                                          50.

      As a result of Defendant’s discriminatory actions against Plaintiff, she has

suffered lost compensation and benefits, emotional distress, inconvenience,

humiliation, and other indignities.

                                          51.

      Pursuant to the ADA, as amended, Plaintiff is entitled to damages including

but not limited to back pay and lost benefits, reinstatement, compensatory damages,


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equitable relief, attorneys’ fees, costs of litigation and all other relief recoverable

under the ADA, as amended.

                                            52.

      Defendant discriminated against Plaintiff, and, in failing and refusing to take

any appropriate remedial action to remedy the unlawful employment practices, has

not only deprived Plaintiff of equal employment opportunities, but exhibited malice

or reckless indifference to the federally protected rights of Plaintiff.

                                            53.

      Plaintiff thus seeks compensatory and punitive damages pursuant to

§102(a)(1) of the Civil Rights Act of 1991, 42 U.S.C. § 1981a(b).

  COUNT II: FAILURE TO ACCOMMODATE IN VIOLATION OF ADA

                                            54.

      Plaintiff re-alleges paragraphs 9-33 as if set forth fully herein.

                                            55.

      Plaintiff has a physical impaiment and a record of such an impairment which

substantially limits one or more major life activities, i.e., a major bodily function,

including but not limited to, functions of the immune system.




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                                           56.

      Plaintiff’s impairment is a disability within the meaning of the ADA, as

amended.

                                           57.

      Defendant was aware of Plaintiff’s disability.

                                           58.

      At all times relevant to this action, Plaintiff was a qualified individual with a

known or perceived disability as defined in the ADA.

                                           59.

      Plaintiff was able to perform the essential functions of her job with a

reasonable accommodation.

                                           60.

      Plaintiff requested that Defendant accommodate her disability by enforcing

its own policies against permitting contagious children to be at the Clinic where she

was employed or by permitting her to avoid exposure to the child with the contagious

infection.




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                                           61.

         Upon receiving Plaintiff’s request for an accommodation, Defendant failed to

meaningfully engage in the interactive process with Plaintiff regarding her request

for a reasonable accommodation of her disability and, instead, fired her.

                                           62.

         Defendant refused to provide Plaintiff with reasonable accommodations, even

though to do so would not impose an undue hardship.

                                           63.

         By refusing to accommodate Plaintiff, Defendant violated the ADA, as

amended.

                                           64.

         Defendant has willfully and wantonly disregarded Plaintiff’s rights, and

Defendant’s failure to accommodate Plaintiff’s disability was undertaken in bad

faith.

                                           65.

         The effect of the conduct complained of herein has been to deprive Plaintiff

of equal employment opportunity and has otherwise adversely affected her status as

an employee because of her disability.




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                                            66.

      As a direct and proximate result Defendant’s violation of the ADA, Plaintiff

has been made the victim of acts that have adversely affected her psychological and

physical well-being.

                                            67.

      As a result of Defendant’s discriminatory actions against Plaintiff, she has

suffered lost compensation and benefits, emotional distress, inconvenience,

humiliation, and other indignities.

                                            68.

      Pursuant to the ADA, as amended, Plaintiff is entitled to damages including

but not limited to back pay and lost benefits, reinstatement, compensatory damages,

equitable relief, attorneys’ fees, costs of litigation and all other relief recoverable

under the ADA, as amended.

                                            69.

      Defendant discriminated against Plaintiff, and, in failing and refusing to take

any appropriate remedial action to remedy the unlawful employment practices, has

not only deprived Plaintiff of equal employment opportunities, but exhibited malice

or reckless indifference to the federally protected rights of Plaintiff.




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                                           70.

      Plaintiff thus seeks compensatory and punitive damages pursuant to

§102(a)(1) of the Civil Rights Act of 1991, 42 U.S.C. § 1981a(b).

              COUNT III: RETALIATION IN VIOLATION OF
                       THE ADA, AS AMENDED

                                           71.

      Plaintiff re-alleges paragraphs 9-33 as if set forth fully herein.

                                           72.

      Plaintiff has a physical impaiment and a record of such an impairment which

substantially limits one or more major life activities, i.e., a major bodily function,

including but not limited to, functions of the immune system.

                                           73.

      Plaintiff’s impairment is a disability within the meaning of the ADA, as

amended.

                                           74.

      Defendant was aware of Plaintiff’s disability.

                                           75.

      At all times relevant to this action, Plaintiff was a qualified individual with a

known or perceived disability as defined in the ADA.



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                                           76.

       Defendant terminated Plaintiff for requesting an accommodation for her

disability.

                                           77.

       Plaintiff’s request for an accommodation of her disability constitutes

protected conduct under the ADA, as amended.

                                           78.

       Defendant retaliated against Plaintiff by terminating her employment on the

basis of her request for an accommodation.

                                           79.

       Defendant terminated Plaintiff’s employment within a close temporal

proximity to Plaintiff’s accommodation requests, i.e., immediately (within seconds

or minutes) after she made the request.

                                           80.

       Defendant’s claim that Plaintiff resigned her employment is a pretext

designed to hide Defendant’s retaliatory motive.

                                           81.

       Defendant’s retaliatory actions against Plaintiff were in violation of the ADA,

as amended.


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                                            82.

      Defendant willfully and wantonly disregarded Plaintiff’s rights, and

Defendant’s retaliation against Plaintiff was undertaken in bad faith.

                                            83.

      As a result of Defendant’s retaliatory actions against Plaintiff, she has suffered

lost compensation and benefits, emotional distress, inconvenience, humiliation, and

other indignities.

                                            84.

      Pursuant to the ADA, as amended, Plaintiff is entitled to damages including

but not limited to back pay and lost benefits, reinstatement, compensatory damages,

equitable relief, attorneys’ fees, costs of litigation and all other relief recoverable

under the ADA, as amended.

                                            85.

      Defendant discriminated against Plaintiff, and, in failing and refusing to take

any appropriate remedial action to remedy the unlawful employment practices, has

not only deprived Plaintiff of equal employment opportunities, but exhibited malice

or reckless indifference to the federally protected rights of Plaintiff.




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                                           86.

      Plaintiff thus seeks compensatory and punitive damages pursuant to

§102(a)(1) of the Civil Rights Act of 1991, 42 U.S.C. § 1981a(b).

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests that this Court:

      (a)          General damages for mental and emotional suffering caused by

                   Defendant’s misconduct;

      (b)          Punitive damages based on Defendant’s willful, malicious,

                   intentional,   and    deliberate   acts,   including   ratification,

                   condonation and approval of said acts;

      (c)          Special damages for lost wages and benefits and prejudgment

                   interest thereon;

      (d)          Reasonable attorney's fees and expenses of litigation;

      (e)          Trial by jury as to all issues;

      (f)          Prejudgment interest at the rate allowed by law;

      (g)          Declaratory relief to the effect that Defendant has violated

                   Plaintiff’s statutory rights;




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      (h)          Injunctive relief of reinstatement, or front pay in lieu thereof, and

                   prohibiting Defendant from further unlawful conduct of the type

                   described herein; and

      (i)          All other relief to which she may be entitled.



      Respectfully submitted the 15th day of June, 2021.

                                         BARRETT & FARAHANY

                                         /s Matthew C. Billips
                                         Matthew C. Billips
                                         Georgia Bar No. 057110
                                         Catherine Gavrilidis
                                         Georgia Bar No. 565343

                                         Attorney for Plaintiff Amy Solen

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